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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1668V
                                         UNPUBLISHED


    DAWN HALLEY,                                              Chief Special Master Corcoran

                         Petitioner,                          Filed: April 28, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Uncontested;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mark Hellie, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

      On October 29, 2018, Dawn Halley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that as a result of an influenza (“flu”) vaccine that was
administered on October 15, 2016, she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

      On April 27, 2020, Respondent filed his Rule 4(c) report in which he states that
he does not contest that Petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, Respondent states that “[m]edical

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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personnel at the Division of Injury Compensation Programs, Department of Health and
Human Services (“DICP”), have reviewed the petition and medical records filed in the
case.” Id. at 4. Furthermore, it is “respondent’s position that petitioner has satisfied the
criteria set forth in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”).” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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